Case: 6:10-cr-00006-GFVT-HAI             Doc #: 244 Filed: 12/02/11           Page: 1 of 2 - Page
                                            ID#: 912



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                         )
                                                               Criminal No. 10-06-GFVT
                                                   )
           Plaintiff,                              )
                                                   )
 V.                                                )
                                                   )                    ORDER
 MARY REBECCA CREEKMORE,                           )
                                                   )
           Defendant.                              )
                                                   )
                                                   )

                                        *** *** *** ***

       This matter is before the Court pending review of the Recommended Disposition of

United States Magistrate Judge Hanly Ingram [R. 243] filed herein on November 14, 2011.

Consistent with local practice, the Recommended Disposition addresses the question of

competency of the Defendant, Mary Rebecca Creekmore. [Id.]

       After reviewing the forensic report of the Defendant’s psychiatric evaluation and

conducting a competency hearing, Magistrate Judge Ingram concluded that the Defendant was

“competent to face further proceedings, to include trial, in this matter.” [Id.] The Recommended

Disposition advises the parties that any objections must be filed within fourteen days of service

or waive the right to further appeal. [Id.] As of this date, neither party has filed objections or

sought an extension of time to do so. Thus, pursuant to 28 U.S.C. § 636(b)(1), this Court will

adopt the Recommended Disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.         The Magistrate Judge’s Recommended Disposition [R. 243] is ADOPTED as and
Case: 6:10-cr-00006-GFVT-HAI           Doc #: 244 Filed: 12/02/11          Page: 2 of 2 - Page
                                          ID#: 913



for the opinion of this Court;

       2.      Pursuant to 18 U.S.C. § 3161(h)(1)(A), the Court DECLARES all time related to

the competency evaluation and determination excludable under the Speedy Trial Act.

       3.      The Clerk of the Court is directed to provide a copy of this Order to the United

States Probation Office and the United States Marshal.

       This the 2nd day of December, 2011.




                                                2
